                                    CASE 0:19-cr-00240-PJS-ECW Doc. 41 Filed 09/08/20 Page 1 of 1

                                                 IN THE UNITED STATES DISTRICT COURT
                                                    FOR THE DISTRICT OF MINNESOTA

        CRIMINAL MINUTES - Scheduled Sentencing Hearing/Bench Warrant Issued
UNITED STATES OF AMERICA,      )                COURT MINUTES
                                                           )                 BEFORE: Patrick J. Schiltz
                                        Plaintiff,         )                    U.S. District Judge
                                                           )
   v.                                                      )   Case No:               19-CR-0240 (PJS/ECW)
                                                           )   Date:                  September 8, 2020
Andrew Joseph Forcier,                                     )   Court Reporter:        Debra Beauvais
                                                           )   Courthouse:            Minneapolis
                                        Defendant.         )   Courtroom:             14E
                                                               Time Commenced:
                                                               Time Concluded:
                                                               Sealed Hearing Time:
                                                               Time in Court:         Hours & Minutes


APPEARANCES:
   Plaintiff:                 Tom Hollenhorst, Assistant U.S. Attorney
   Defendant :                Steven Grimshaw for Andrew Joseph Forcier 9 FPD 9 CJA : Retained 9 Appointed


   Interpreter / Language: /

MINUTES:
             Defendant failed to appear. Bench warrant issued.


                                                                                                            s/C. Glover
                                                                                          Signature of Courtroom Deputy




M:\templates\CR Miscellaneous wpt                                                                            Template Updated 04/2013
